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               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA

 MELISSA KULIK,                       )
                                      ) Case No. 3:14-cv-00054-JWS
                    Plaintiff,        )
                                      ) NOTICE OF SETTLEMENT
        vs.                           )
                                      )
 UNITED STATES OF AMERICA,            )
                                      )
                    Defendant.        )
                                      )

      The United States, through counsel, notifies the Court that the parties

have reached a settlement of the claims in this action. A stipulation for

dismissal will be filed after the parties complete the settlement documents

and proceedings, which is expected to take up to 90 days.




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       DATED this 23rd day of November, 2016, at Anchorage, Alaska.

                                              KAREN L. LOEFFLER
                                              United States Attorney


                                              s/Susan J. Lindquist
                                              SUSAN J. LINDQUIST
                                              Assistant U. S. Attorney
                                              Attorney for the United States of America



CERTIFICATE OF SERVICE

I hereby certify that on November 23, 2016,
a copy of the foregoing
was served electronically on:

Ray R. Brown
Meg Simonian

s/Susan J. Lindquist




Kulik v. United States
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